

People v Calix (2021 NY Slip Op 00635)





People v Calix


2021 NY Slip Op 00635


Decided on February 04, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 04, 2021

Before: Manzanet-Daniels, J.P., Singh, Kennedy, Mendez, JJ. 


Ind No. 1405/04 Appeal No. 13044 Case No. 2019-2908 

[*1]The People of the State of New York, Respondent, 
vFilberto Calix, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Arthur H. Hopkirk of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Robert L. Myers of counsel), for respondent.



Order, Supreme Court, Bronx County (Raymond L. Bruce, J.), entered on or about February 1, 2019, which adjudicated defendant a level two sexually violent offender pursuant to the Sex Offender Registration Act (Correction Law art 6-C), unanimously affirmed, without costs.
Initially, we reject the People's argument that the appeal should be dismissed on the ground that defendant has been deported. This is a civil appeal as of right, and a "civil appellant's physical location is not normally a reason to dismiss an appeal" (People v Edwards, 117 AD3d 418, 419 [1st Dept 2014]).
Defendant challenges two point assessments, either of which, when added to undisputed points, renders him a level two offender. The evidence before the hearing court, and reasonable inferences to be drawn therefrom, provided clear and convincing evidence that defendant inflicted physical injury on the victim, and that he refused to participate in a treatment program. Accordingly, the court correctly assessed points under the corresponding risk factors.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 4, 2021








